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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LEVI STRAUSS & CO.,
Case No. 18-cv-05866
Plaintiff,
Judge Charles P. Kocoras
Vv.

Magistrate Judge Sidney I. Schenkier
A&Z BABY STORE, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on December 18, 2018 [55], in
favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in
Schedule A in the amount of two million dollars ($2,000,000) per Defaulting Defendant for
willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of
products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of
an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

 

Defendant Name Line Nos.

 

 

 

J GShoes Store 68

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 

 
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Dated this 29th day of March 2019. Respectfully sub, )

/Amy C. Ziegler U/
Justin R. Gaudi
RiKaleigh C. Johnson
Greer, Burns & Crain, Ltd.
300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606
312.360.0080 / 312.360.9315 (facsimile)
aziegler@gbc.law
jgaudio@gbc.law
rjohnson@gbc.law

 

Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 29th day of March 2019.

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Given under by hand and notarial seal.

 
 

 

     

ALYSSA GUYNN £
Official Seal / /
Notary Public - State of Illinois Notary Public

   

My Commission Expires Nov 16, 2022 h

 

State of Illinois
County of Cook

 
